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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

CELLINFO, LLC,
Plaintiff,

V. CIVIL ACTION
NO. lB-llZBO-WGY
AMERICAN TOWER CORPORATION,
AMERICAN TOWER LLC,
AMERICAN TOWER DO BRASIL -
CESSAO DE INFRAESTRUTURAS LTDA,
AND ATC IP LLC,

Defendants.

Vvvvvv\/v`/VWV`_/`_»

 

YOUNG, D.J. December 19, 2018
MEMDRANDUM OF DECISION

I. INTRODUCTION

This is a case abounding in irony. CellInfo, LLC
(“CellInfo”), a Massachusetts-based business that works with
wireless companies to improve their consumers' cellular
coverage, Compl. II 2, l9, ECF No. l, brought this action
against American Tower Corporation, American Tower LLC, American
Tower do Brasil - Cessao de Infraestruturas Ltda (“American
Tower do Brasil”), and ATC IP LLC (“ATC IP”) (collectively,
“American Tower”) alleging misappropriation of confidential
information and trade secrets in order to create unfair
competition between the parties, breach of contract, unjust

enrichment, unfair and deceptive trade practices, conversion,

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and aiding and abetting misappropriation of trade secrets.
Compl. IT 1, 8.

American Tower Corporation owns, operates, and develops
communications real estate, Defs.' Mem. Dismiss/Stay l, ECF No.
18, and is the parent company of American Towers LLC, ATC IP,
and American Tower do Brasil, Compl. II 12-14.

CellInfo and American Tower engaged in business that
included the purchase of lease options, site acquisition
services, and consulting services. Compl. TT 21, 30, 43.

CellInfo and ATC IP entered into a Master Consulting
Services Agreement (the “Agreement”) on January 23, 2017.
Celllnfo’s Mot. Prelim. Inj.: Master Consulting Services
Agreement, Ex. 2 (“MCSA”), ECF No. 29-5. The Agreement defines
certain professional and legal obligations between CellInfo and
ATC IP that govern CellInfo’s provision of consulting services
to ATC IP. Compl. LI 42-48.

In reliance on the Agreement, American Tower filed a motion

to dismiss or, in the alternative, stay and compel arbitration,1

 

1 Though only CellInfo and ATC IP are parties to the
Agreement, American Tower argues that American Tower
Corporation, American Tower LLC, and American Tower do Brasil
may also “invoke . . . arbitration” pursuant to the Agreement
under a non-signatory contract estoppel theory. Defs.’ Mem.
Dismiss/Stay 15-17 (quoting both Ouadani v. TF Final Mile LLC,
876 F.3d 31, 36-38 (lst Cir. 2017) (holding that “Federal courts
generally have been willing to estop a signatory from avoiding
arbitration with a nonsignatory when the issues the nonsignatory
is seeking to resolve in arbitration are intertwined with the

[2]

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Defs.’ Mot. Dismiss/Stay (“Defs.' Mot.”) 1-2, ECF No. 17, which
CellInfo opposed, Pl.’s Opp'n Mem. DismiSS/Stay (“Pl.’s Opp’n”)
3-8, ECF NO. 27.

The portion of the Agreement under contention here is the
“Dispute Resolution” provision, article seven, Defs.’ Mem.
Dismiss/Stay 2-3, 6-15; see MCSA 13. The parties disagree over
whether article seven, which compels arbitration of
controversies between the parties (section 7.1), provides an
exception to arbitration where the moving party seeks injunctive
relief (section 7.2). Defs.’ Mem. Dismiss/Stay 4-15; Pl.’s
Opp'n 3-8; see MCSA 13-14. American Tower argues that sections
7.1 and 7.2 of the Agreement require that this Court stay and
compel arbitration of this action, Defs.’ Mem. Dismiss/Stay 5-
17, while Celllnfo insists that these sections preclude this
Court from granting American Tower’s motion to dismiss or stay,

Pl.’s Opp'n 3-8.

 

agreement that the estopped party has signed”) (internal
citations and quotations omitted)) and Machado v. System4 LLC,
471 Mass. 204, 211 (2015)). American Tower’s brief on this
issue is persuasive and CellInfo does not dispute this argument
either in its brief or during the hearing on this issue. §ee
generally Pl.’s Opp’n; Hr’g Tr., ECF No. 47. At this stage of
the analysis, therefore, this Court provisionally accepts
American Tower’s contention and treats American Tower
Corporation, American Tower LLC, and American Tower do Brasil as
having equal rights to arbitration.

[3]

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II . PROCEDURAL HISTORY

In light of what follows, it is perhaps helpful to describe
the course of proceedings in some detail. CellInfo filed its
complaint with this Court on June 15, 2018. Compl. 26. Forty-
five days later, American Tower filed a motion to dismiss
CellInfo’s complaint or, in the alternative, stay this action
and compel arbitration, as well as an accompanying memorandum.
Defs.’ Mot. Dismiss/Stay 1-2; Defs.’ Mem. Dismiss/Stay 18.
Nearly a month passed; then, on August 27, 2018, CellInfo filed
its opposition to American Tower’s motion to dismiss, Pl.’s
Opp'n 9, and -- signaling a change of course -~ a motion to
expedite discovery, CellInfo's Mot. Expedited Disc. (“Pl.’s Mot.
Disc.”) 1-2, ECF No. 26.

The next day, CellInfo further moved for a preliminary
injunction against American Tower. CellInfo’s Mot. Prelim. Inj.
1-2, ECF No. 29. American Tower duly filed their opposition to
Celllnfo's motions for expedited discovery and preliminary
injunction on September 14, 2018. Defs.’ Mem. Opp'n Pl.’s Mot.
Expedited Disc., ECF No. 34; Defs.’ Mem. Opp'n Pl.’s Mot.
Prelim. Inj., ECF No. 35.

On October 24, 2018, this Court heard argument on the
motion to dismiss or stay this action. Hr’g Tr. l, ECF No. 47.
The Court expressed a willingness to collapse a further hearing

on the preliminary injunction with trial on the merits, Fed. R.

[4]

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Civ. P. 65(a), and asked CellInfo when it wanted to try the
case. Hr’g Tr. 3:18-23. Facing the prospect of an actual
evidentiary hearing as opposed to dueling affidavits,2 CellInfo
promptly lost its appetite for emergency relief. While it
welcomed the prospect of complete equitable relief, it indicated
that a trial could wait until late January 2019. Hr’g Tr. 3:18-
4:3. This Court then denied the motion to dismiss and turned to
the preliminary injunction request. Hr’g Tr. 9:2, 11:9-10.
American Tower agreed that there was a need to resolve the
motion for preliminary injunction, but argued that, under the
Agreement’s arbitration clause, the Court’s role was limited to
considering whether to issue a “stand still” injunction. Hr’g
Tr. 6:7-21. Everything else, American Tower argued, had to go
to the arbitrators. Hr’g Tr. 6:23~25. Both parties agreed that
the Court should construe the Agreement and resolve this initial
question. Hr’g Tr. 9-11. Frankly baffled, the Court took the
matter under advisement. Hr’g Tr. ll. As it turns out, both

parties are wrong.

 

2 “The affidavit is the Potemkin Village of today’s
litigation landscape. Purported adjudication by affidavit is
like walking down a street between two movie sets, all lawyer-
painted facade and no interior architecture.” In re Nexium
(Esomeprazole) Antitrust Litig., 309 F.R.D. 107, 145 n.55 (D.
Mass. 2015) (quoting United States v. Massachusetts, 781 F.
Supp. 2d 1, 22 n.25 (D. Mass. 2011)).

[5]

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III. ANALYSIS

The way to construe an agreement is to start with the
Agreement itself. This one has a broad arbitration clause. It
is important to note that this is not “forced arbitration,” that
one-sided species of arbitration unconscionably forced on
vulnerable consumers and workers and almost universally reviled,3
enforceable only due to the mandate of a slim majority of the

Supreme Court. See American Express Co. v. Italian Colors

 

 

§§§t;, 570 U.S. 228, 238-39 (2013); AT&T Mobility LLC v.
Concepcion, 563 U.S. 333, 344-52 (2011).

No. lt appears that the broad arbitration clause here is
the product of mutual negotiation among independent equals, each
represented by skilled counsel. This is precisely the knowing
mutual resort to arbitration to which the Federal Arbitration
Act, 9 U.S.C. §§ 3-4, applies. The Court must strive therefore

to give effect to the expressed intention of the parties.

 

3 See, e.g., Terri Gerstein, No More Forced Arbitration,
N.Y. Times, Nov. l7, 2018, at A27.

Here’s why forced arbitration is unfair: Workers
win less often in arbitration than in court, and when
they do win, they get less money than in court.
Arbitration is secret, shielding companies' wrongdoing
from public view. There’s no right to appeal. Forced-
arbitration provisions usually bar class actions, making
it more daunting and difficult to sue an employer. And
workers can't realistically opt out; they're typically
presented with a take-it-or-leave-it contract to sign if
they want to put food on the table.

[6]

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Here, Section 7.1, entitled “Arbitration Procedure,”

provides that:

The Parties agree to submit any dispute, controversy, or
claim arising out of or related to any portion of this
Agreement other than those involving Article Six of this
Agreement, or the creation, validity, interpretation,
breach, or termination of this Agreement that the
Parties are unable to resolve through informal
discussions, to binding arbitration in accordance with
the provisions of this article. The arbitration will
be: (a) held in Suffolk County, Massachusetts; (b)
conducted before a panel of three (3) arbitrators, each
knowledgeable in fields related to the subject matter of
the dispute, one chosen by each Party within ten (lO)
days of a demand for arbitration and the third by the
two (2) so chosen; (c) governed by the Commercial
Arbitration Rules of the American Arbitration

Association (“AAA”) except as otherwise expressly
provided in this section; and (d) administered by the
AAA unless the Parties agree otherwise. The

arbitrators: (a) may not add to, amend or disregard this
Agreement in whole or in any part; (b) will allow such
discovery as is appropriate to the purposes of
arbitration in accomplishing fair, speedy and cost
effective resolution of disputes; (c) will reference the
rules of evidence of the Federal Rules of Civil Procedure
then in effect in setting the scope and direction of
such discovery; and (d) will not be required to make
findings of fact or render opinions of law.

MCSA 13. Additionally, section 7.2, entitled “Enforcement,”

states that:

Other than with respect to those matters involving the
warranties, indemnities, and other matters addressed by
Article Six of this Agreement, or matters involving
injunctive relief as a remedy, or any action necessary
to enforce the award of the arbitrators, the provisions
of this article are a complete defense to any suit,
action, or other proceeding instituted in any court or
before any administrative tribunal with respect to any
dispute, controversy or claim between the Parties hereto
and arising out of or related to this Agreement or the
creation, validity, interpretation, breach, or

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termination of this Agreement. The decision of and award
rendered by the arbitrators will be final and binding on
the Parties. Nothing in this article prevents the
Parties from exercising any rights set forth in this
Agreement, including without limitation termination
rights.
Id. at 13-14.
Congress enacted the Federal Arbitration Act “to ensure
that courts would honor the contractual agreements of parties

who choose to resolve their disputes by means of the informal

arbitration procedure.” New England Energy, Inc. v. Keystone

 

Shipping Co., 855 F.2d l, 3 (lst Cir. 1988). The Federal
Arbitration Act requires courts to “treat arbitration agreements
in the same way as other contracts and ‘enforce them according
to their terms.'” Farnsworth v. Towboat Nantucket Sound, Inc.,
790 F.3d 90, 96 (1st Cir. 2015) (quoting Rent-A-Center, W., Inc.
v. Jackson, 561 U.S. 63, 67 (2010)). Section 3 of the Federal
Arbitration Act allows parties to an arbitration agreement to
move the court “to stay a judicial proceeding when the matter
before the court involves an issue governed by an agreement to
arbitrate.” Campbell v. General Dynamics Gov’t Sys. Corp;, 407
F.3d 546, 552 (1st Cir. 2005); see also 9 U.S.C. § 3; Langley v.

Colonial Leasing Co. of New England, 707 F.Zd l, 3 (lst Cir.

 

1983). Section 4 of the Federal Arbitration Act permits parties
“aggrieved by another party’s refusal to arbitrate to petition a

district court to compel arbitration in accordance with the

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parties' preexisting agreement.” Campbell, 407 F.3d at 552; see
§l§g 9 U.S.C. § 4; Langley, 707 F.Zd at 3. Under either
section, the moving party must demonstrate: “that a valid
agreement to arbitrate exists, that the movant is entitled to
invoke the arbitration clause, that the other party is bound by
that clause, and that the claim asserted comes within the
clause's scope.” Campbell, 407 F.3d at 552 (quoting InterGen
§;y; v. §§ina, 334 F.3d 134, 142 (1st Cir. 2003)).

These precedents all apply here. That would seem to do it.
But there’s more. Arbitrators have no enforceable equitable
powers. Thus, with a real belt and suspenders flare, the
drafters of the Agreement included rights to injunctive relief
as well. Specifically, the Agreement provides:

If the provisions of this [Confidentiality] article are

breached, or are threatened to be breached, the

Disclosing Party will be entitled to seek injunctive

relief in addition to seeking any relief otherwise
available at law or under the terms of this Agreement.4

 

4 There’s also a rather one~sided right to injunctive relief
under the Agreement’s general provisions which provides in
relevant part;

The Parties hereto acknowledge that the services to be
rendered by Consultant under this Agreement and the
rights and privileges granted to AMT under the Agreement
are of a special, unique, unusual, and extraordinary
character which gives them a peculiar value, the loss of
which cannot be reasonably or adequately compensated by
damages in any action at law, and the breach by
Consultant of any of the provisions of this Agreement
will cause AMT irreparable injury and damage.
Consultant expressly agrees that AMT is em; all times
entitled to seek injunctive and other equitable relief

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MCSA 7. Surely, the drafters must have thought, that ought
cover it.

When this dispute arose, however, the Agreement’s
ambiguities became glaringly apparent. Here, it is precisely an
alleged breach of the confidentiality provisions of which
CellInfo principally complains. Compl. 77 46-47. Must this
dispute be arbitrated (as American Tower contends) or is
permanent equitable relief available from this Court (as
CellInfo contends)? The Agreement has no express provision
governing the relationship of these remedies.

Generally, it is for a district court to determine “whether
an issue is subject to arbitration under an agreement containing
an arbitration clause,” unless “the parties have themselves
‘clearly and unmistakably agreed' that the arbitrator should

decide whether an issue is arbitrable.” Awuah v. Coverall N.

 

in the event of, or to prevent, a breach of any provision
of this Agreement by Consultant; provided, however, that
resort to such equitable relief shall not be construed
to be a waiver of any other rights or remedies that AMT
may have for damages or otherwise. The various rights
and remedies of AMT under this Agreement are not intended
to be exhaustive. The exercise by AMT of any right or
remedy under this Agreement or any other agreement
between the Parties does not preclude the exercise of
any other rights or remedies by AMT, all of which are
cumulative and are in addition to any other rights or
remedies that may now or subsequently exist in law or in
equity or by statute or otherwise.

MCSA 16.
[10]

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Am., Inc., 554 F.3d 7, 10 (lst Cir. 2009) (quoting Howsam v.
Dean Witter Reynolds, Inc., 537 U.S. 79, 83 (2002)); see also

Grand Wireless, Inc. v. Verizon Wireless, Inc., 748 F.3d l, 7

 

(1st Cir. 2014) (quoting AT&T Techs., Inc. v. Communications

Workers of Am., 475 U.S. 643, 649 (1986)); Apollo Comput., Inc.

 

v. Berg, 886 F.2d 469, 472-73 (1st Cir. 1989). Arbitrators
rather than courts, however, should decide issues involving
procedure that “grow out of the dispute and bear on its final

disposition.” Dialysis Access Ctr. v. RMS Lifeline, Inc., 638

 

 

F.3d 367, 375 (lst Cir. 2011) (internal citations and quotations
omitted). Where an arbitration agreement states that the
American Arbitration Association's Rules govern the agreement,
American Arbitration Association Rule 7(a) is “clear and
unmistakable” in providing that an arbitrator has the ability to
rule on issues involving the scope of the agreement. Hopkinton
Drug, Inc. v. CaremarkPCS, L.L.C., 77 F. Supp. 3d 237, 248 (D.
Mass. 2015) (quoting §wuah, 554 F.3d at ll).

Moreover, where an arbitration provision’s scope is
unclear, arbitration is the favored means of dispute resolution.

Ouadani v. TF Final Mile LLC, 876 F.3d 31, 36 (1st Cir. 2017);

 

Grand Wireless, 748 F.3d at 7. No party, however, should “be
required to submit to arbitration any dispute which [it] has not
agreed so to submit.” Ouadani, 876 F.3d at 36 (quoting AT&T

Techs., 475 U.S. at 648); see also Grand Wireless, 748 F.3d at

[ll]

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7. When determining whether parties have contracted to
arbitrate, courts “generally . . . apply ordinary state-law
principles that govern the formation of contracts.” Grand

Wireless, 748 F.3d at 7 (quoting First Options of Chi., Inc. v.

 

Kaplan, 514 U.S. 938, 944 (1995)); Dialysis Access Ctr., 638

 

F.3d at 376. Federal policy, however, dictates that a court’s
analysis of an arbitration contract should ensure that “the
parties’ intentions control, but [that] those intentions are
generously construed as to issues of arbitrability,” §£and
Wireless, 784 F.3d at 7 (quoting Mitsubishi Motors Corp. v.

Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 626 (1985)), and

 

that “ambiguities as to the scope of the arbitration clause
itself . . . be resolved in favor of arbitration,” id; (quoting
PowerShare, Inc. v. Syntel, Inc., 597 F.3d 10, 15 (1st Cir.
2010) (internal alternations omitted)); Dialysis Access Ctr.,
638 F.3d at 376 (quoting Mastrobuono v. Shearson Lehman Hutton,
lng;, 514 U.S. 52, 62 (1995)).

To determine whether a dispute falls within the scope of an
arbitration agreement, a court must examine “the factual
allegations underlying the claims in the complaint.” grand

Wireless, 748 F.3d at 7 (quoting Dialysis Access Ctr., 638 F.3d

 

at 378) (internal alterations omitted). A presumption of
arbitration endures “where the language of an arbitration clause

is broad,” id. at 8, and there is neither an “express provision

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excluding a particular grievance from arbitration” nor “the most
forceful evidence of [the parties'] purpose to exclude the
claim,” id; (quoting AT&T Techs., 475 U.S. at 650).

Here, the argument in favor of arbitration is persuasive.
Section 7.1 of the Agreement provides that:

The Parties agree to submit any dispute, controversy, or
claim arising out of or related to any portion of this
Agreement other than those involving Article Six of this
Agreement, or the creation, validity, interpretation,
breach, or termination of this Agreement that the
Parties are unable to resolve through informal
discussions, to binding arbitration in accordance with
the provisions of this article.

 

MCSA 13 (emphasis added). In this section, the Agreement
directly states that disputes over issues including the
creation, validity, and interpretation of the contract are
subject to arbitration. 1§;_ Section 7.1 further provides that
arbitrations between the parties are “governed by the Commercial
Arbitration Rules of the American Arbitration Association
(‘AAA') except as otherwise expressly provided in this section.”
ld; Section 7.1 does not provide an exception for the use of
the AAA Rules for conflicts involving the creation, validity, or
interpretation of the contract. §§§ id; As previously
discussed, section 7(a) of the AAA Rules provides “clear and
unmistakable” language that arbitrators have the power to
resolve disputes over an agreement's scope. Hopkinton Drug, 77

F. Supp. 3d at 248.

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While CellInfo argues that section 7.2 requires an
exception for issues concerning injunctive relief, this argument
bypasses the initial inquiry as to whether this Court may
consider the scope of the Agreement or whether the arbitrators
must resolve this issue. §§e Pl.’s Opp'n 7. This Court rules
that it is for the arbitrators in the first instance -- and not
this Court -- to construe the ambiguities in the Agreement and
determine the extent of this Court’s role in adjudicating this
dispute.

A final issue, explored more thoroughly by the parties
during the hearing before this Court in October, is whether this
Court has the ability to provide the parties with a preliminary
injunction freezing the status quo. Hr’g Tr. 6-9.

In the First Circuit, a district court may grant a party’s
request for injunctive relief where there is “an arbitrable
dispute pending arbitration, provided that the prerequisites for
injunctive relief are satisfied.” Teradyne, Inc. v. Mostek
§§£p;, 797 F.2d 43, 51 (lst Cir. 1986); see also Danieli & C.
Officine Meccaniche S.p.A. v. Morgan Constr. Co., 190 F. Supp.
2d 148, 154 (D. Mass. 2002) (Gorton, J.). Further, a district
court may grant a preliminary injunction before determining
whether a dispute requires judicial or arbitral action.
Teradyne, 797 F.2d at 51. Allowing courts to provide such

relief permits the “preserv[ation of] the status quo pending

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arbitration and, ipso facto, the meaningfulness of the
arbitration process.” ld;§

American Tower indicated at the October hearing that it had
no problem with such relief. Hr’g Tr. 6:18-25 (“If this Court,
in light of the language of Section 7.2, believes that there
should be some sort of a preliminary injunction so that the
status quo is frozen pending the commencement of arbitration,
we’re -- as we’ve indicated to the other side, we’re fine with
that.”).

For these reasons, this Court concluded that its role in
the process is to hear and resolve CellInfo's motion for
preliminary relief, commit everything else to the arbitrators
(remaining available for further judicial action should the
arbitrators -- not this Court -- construe the Agreement to
afford the scope for such action), and, once an arbitration
award is delivered, to handle the proceedings, if any, involved
in confirming or vacating such an award.

Having reached this decision, the Court promptly entered a

conclusory order setting it forth, ECF No. 63. This memorandum

explains the Court’s reasoning. Four days after the order

 

5 A court’s ability to issue a preliminary or permanent
injunction, in the labor arbitration context, is limited by the
Norris-LaGuardia Act, 29 U.S.C. §§ 101 et seq., see Independent
Oil & Chem. Workers_of Quincy, Inc. v. Gamble Mfg. Co., 864 F.2d
927, 928-29 (1st Cir. 1988), but such statutory restriction is
not relevant to this case and is not raised by the parties.

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entered, the parties jointly proposed a stipulated preliminary
injunction which will terminate should the parties’ presently
anticipated arbitration not proceed in due course. The Court
entered the stipulated preliminary injunction on November 20,
2018 and administratively closed the case, ECF No. 66. The
preliminary injunction apparently gets CellInfo the temporary
relief it needs, and these corporations otherwise appear well on
their way (wisely) to a private settlement.

IV. WHATEVER WERE THEY THINKING? MYTHS AND REALITIES
CONCERNING COURTS AND ARBITRATION

How could an otherwise sophisticated agreement have made
such a hash out of the parties' intentions concerning the
interplay of arbitration and court processes? It appears that
in this “big law” era, the drafters operated under the myth that
arbitration is cheaper, faster, and more confidential than
litigation (only one of these is true) without talking to trial
lawyers who understand the reality that while people may not
want trials, what they do want is a firm and reasonably prompt
trial date before an impartial fact-finder as the best chance

for a fairly negotiated settlement. Consider:6

 

6 Thoughtful, well supported comparisons are especially
important today.

Seventeen years ago, the U.S. Supreme Court perceived
real benefits to the enforcement of arbitration
provisions in the employment context, including
avoidance of litigation costs. And, in Gilmer, the Court

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Cheaper? Arbitration is expensive. §§e Erin Mulvaney,
Plaintiffs Lawyers Pressure Lyft to Pay Millions in Arbitration
§§§§, The Recorder (Dec. 14, 2018, 11:45 AM), https://www.law.co
m/therecorder/ZOlS/12/14/plaintiffs-lawyers-pressure-lyft-to-
pay-millions-in-arbitration-fees/?slreturn=20181117144915 (“In
addition to the filing fee of $1,900 for each demand, there is a
$750 case management fee per case and the arbitrator’s
compensation.”). Arbitration which, as here, contemplates pre-
hearing discovery is markedly more expensive. §§e MCSA 13
(authorizing discovery conducted with “reference [to] the rules
of evidence of the Federal Rules of Civil Procedure”).
Arbitration before a panel of three arbitrators is more

expensive still. Indeed, it's as expensive as the full panoply

 

determined that arbitration was a comparable alternative
to litigation. But it is not clear that, at the time
those opinions were issued, there was data to support
those assumptions. In the years since, scholars have
continued to test those assumptions and have seemingly
unsettled the notion that arbitration is superior or
even sufficiently comparable to litigation. There is
certainly some data suggesting that the arbitral forum’s
downsides may outweigh its benefits, at least for
vulnerable workers.

Styczynski v. Marketsource, Inc., No. 18-2662, 2018 WL 6305839,
at *10 (E.D. Pa. 2018) (McHugh, J.) (internal citations and
quotations omitted); see also Mark D. Gough, The High Costs of
an Inexpensive Forum: An Empirical Analysis of Employment
Discrimination Claims Heard in Arbitration and Civil Litigation,
35 Berkeley J. Emp. & Lab. L. 91, 93 (2014); David Horton &
Andrea Cann Chandrasekher, Employment Arbitration after the
Revolution, 65 DePaul L. Rev. 457, 496 (2016).

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of federal court litigation. See Tigges v. AM Pizza, Inc., Nos.
16-10136-WGY, 16-10474-WGY, 2016 WL 4076829, at *17 n.31 (D.
Mass. July 29, 2016) (citing Christopher R. Drahozal,

Arbitration Costs and Contingent Fee Contracts, 59 Vand. L. Rev.

 

729, 736-37 (2006)). Expense comparisons are, of course,
tricky. Since the federal courts are supported by the public,
the incidental costs of actual hearings are less expensive to
the litigants than a comparable hearing before arbitrators
(where the parties bear all the incidental costs). Federal
court discovery, on the other hand, is especially expensive.
Here, of course, the agreement contemplates the arbitrators
authorizing discovery. MCSA 13. Moreover, under the Agreement
here, each of the arbitrators was expected to be familiar with
the industry. lg; at 13-14.

More to the point, the initial costs of finding, selecting,
and launching a three-person arbitration panel outstrip the
costs of filing a complaint in the federal district court. So,
even before accounting for the real costs -- discovery -- which
comes later, parties have already spent more by choosing
arbitration. §§§ Nicola Faith Sharpe, Corporate Cooperation

Through Cost-Sharing, 16 Mich. Telecomm. & Tech. L. Rev. 109,

 

110 (2009) (observing that discovery is the major cost driver in
litigation); see generally Nicholas M. Pace & Laura Zakaras,

Where the Money Goes: Understanding Litigant Expenditures for

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Producing Electronic Discovery (RAND Corp. 2012), https://www.ra
nd.org/content/dam/rand/pubs/monographs/2012/RAND_M61208.pdf.

Genuine trial lawyers know all this. Doubtless, that's why
no party here actually has had recourse to arbitration though
five months have now passed. Federal Court litigation is
expensive as well -- too expensive. Coupled with other factors,
arbitration may be more desirable, yet it is a myth to think it
cheaper than a focused, well-conducted federal trial.

Faster? On this factor, the federal courts in
Massachusetts win hands down. Again, the trial lawyers know it.
When CellInfo sought to pick up the pace, it called for a
preliminary injunction and brought the Court into action as a
player. When the Court’s contemplated pace outstripped the
lawyers’ ability to keep up, they jointly negotiated a slowdown.
§§§ Defs.’ Unopposed Mot. Set Trial Date 1-2, ECF No. 49.
Indeed, had the parties genuinely wanted court adjudication they
could have agreed to it, and this case would have been resolved
before arbitration could get off the ground. This is not an
isolated phenomenon. It is applicable to all types of federal
civil litigation. Caroline Simson, Arbitration Could Benefit
from Litigation Rules: Ex-Judge, Law360 (Sept. 24, 2018, 6:41
PM), https://www.law360.com/articles/1085668/arbitration-could-
benefit-from-litigation-rules-ex-judge (acknowledging that “the

reality is that much of arbitration has become just as lengthy

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and expensive as litigation, if not more”); Chris Villani, §§
Printing Rivals Settle IP Dispute Just Days Into Trial, Law360
(Sept. 27, 2018, 7:29 PM), https://www.law360.com/articles/10872
l9/3d-printing-rivals-settle-ip-dispute-just-days-into-trial.

So long as at least one party wants speed, federal courts in
Massachusetts clearly outpace arbitration.

Confidentiality? Here, arbitration comes into its own.
While this Court will assiduously protect the parties' trade
secrets, §§g Protective Order, ECF Nos. 54-55, now that the
parties are headed for settlement or arbitration their affairs
will disappear entirely from public view. Secret, private
tribunals carry with them a host of other societal ills, §§§
Laurie Kratky Doré, Public Courts Versus Private Justice: It’s
Time to Let Some Sun Shine in on Alternative Dispute Resolution,
81 Chi.-Kent L. Rev. 463, 506 (2006); Benjamin P. Edwards,
Arbitration's Dark Shadow, 18 Nev. L.J. 427, 432-34 (2018); J.
Maria Glover, Disappearing Claims and the Erosion of Substantive
Lgy, 124 Yale L.J. 3052, 3065-66, 3075 (2015), but on these
policy issues the Congressional mandate in the Federal
Arbitration Act is crystal clear -- corporate secrecy is
preferable to public transparency. Doubtless Celllnfo and
America Tower have many business reasons for wishing to shield
their inter-corporate squabble from the eyes of competitors and

present and potential clients.

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What may be most troubling about secret proceedings is the
lack of any oversight of the process itself. Who is to know if
the arbitrators themselves commit improprieties, see, e.g., Crow

Constr. Co. v. Jeffrey M. Brown Assoc. Inc., 264 F. Supp. 2d

 

 

217, 224-26 (E.D. Pa. 2003) (vacating arbitration award where
arbitrators failed to disclose potential biases), or counsel are
lax, make missteps, or are frankly incompetent? Instead,
corporations console themselves when paying their legal bills
with the myths that they have chosen a cheaper and faster means
of dispute resolution -- although neither is true.

Which is the better approach to adjudication? I am not so
self-regarding (or confident) to stake a claim. The honest
answer -- it depends. As regards this case, the facts are
these:

The litigation costs will be roughly equivalent, though the
start-up costs of arbitration are greater. So long as one party
wants speed, the Massachusetts federal courts are markedly
faster, 5-8 months start to finish. In arbitration, CellInfo
and American Tower can cloak themselves in secrecy; in federal
court they cannot. At the conclusion of arbitration, the
parties will receive an award but no explanation and will have
virtually no appellate rights. At the end of a federal trial

the parties will get a thorough written decision and award.

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Each will have full rights to appeal to one of the finest
appellate courts in America.
Which course is better? You be the judge.

SO ORDERED.

M‘ /<ZQW

WILLIAM G.
DISTRICT DGE

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